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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 14-1156V
                                       Filed: May 4, 2017

 * * * * * * * * * * * * *                     *   *
 PAULA PASQUINELLI,                                *       UNPUBLISHED
                                                   *
                 Petitioner,                       *       Decision on Joint Stipulation;
 v.                                                *       Anaphylactic Reaction, Weakness,
                                                   *       Parsonage Turner Syndrome, Peripheral
 SECRETARY OF HEALTH                               *       Neuropathy, and Transverse Myelitis
 AND HUMAN SERVICES,                               *       (“TM”); Influenza (“Flu”), Hepatitis A
                                                   *       (“Hep A”), Hepatitis B (“Hep B”), Polio,
                 Respondent.                       *       and Diphtheria-Tetanus-acellular Pertussis
                                                   *       (“DTaP”) Vaccines.
 * * * * * * * * * * * * *                     *   *

Mark T. Sadaka, Esq., Mark T. Sadaka, LLC, Englewood, NJ, for petitioner.
Adriana R. Teitel, Esq., U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION ON JOINT STIPULATION1

Roth, Special Master:

        On November 26, 2014, Petitioner (“Mr. Pasquinelli,” or “petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program.2 Petitioner alleged
that she suffered from vaccine-induced anaphylactic reaction, weakness, Parsonage Turner
Syndrome, peripheral neuropathy, and transverse myelitis as a result of receiving an influenza,
hepatitis A, hepatitis B, polio, and Diphtheria-Tetanus-acellular Pertussis (“DTaP”) vaccinations
on January 12, 2012. See Stipulation, filed May 4, 2017, at ¶¶ 1-4. Respondent denies that
petitioner’s alleged injuries and their residual effects were caused-in-fact or significantly

        1
          Because this unpublished decision contains a reasoned explanation for the action in this case, I
intend to post this decision on the United States Court of Federal Claims’ website, in accordance with the
E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2012)). In accordance with Vaccine Rule 18(b), a party has 14 days to identify and
move to delete medical or other information, that satisfies the criteria in 42 U.S.C. § 300aa-12(d)(4)(B).
Further, consistent with the rule requirement, a motion for redaction must include a proposed redacted
decision. If, upon review, I agree that the identified material fits within the requirements of that
provision, I will delete such material from public access.
        2
         National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.
Hereinafter, for ease of citation, all “§” references to the Vaccine Act will be to the pertinent
subparagraph of 42 U.S.C. § 300aa (2012).



                                                       1
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aggravated by her vaccine. Respondent further denies that the vaccines caused petitioner any
other injury or her current condition. Id. at ¶ 6.

         Nevertheless, the parties have agreed to settle the case. On May 3, 3017, the parties filed
a joint stipulation agreeing to settle this case and describing the settlement terms. Respondent
agrees to issue the following payment:

        A lump sum of $35,000.00 in the form of a check payable to petitioner, Paula
        Pasquinelli. This amount represents compensation for all damages that would be
        available under § 300aa-15(a).

       I adopt the parties’ stipulation attached hereto, and award compensation in the amount
and on the terms set forth therein. The clerk of the court is directed to enter judgment in
accordance with this decision.3

        IT IS SO ORDERED.

                                                        s/ Mindy Michaels Roth
                                                        Mindy Michaels Roth
                                                        Special Master




        3
         Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.

                                                   2
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